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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:09CR3031
                                        )
             V.                         )
                                        )
MICHAEL KONING,                         )                   ORDER
                                        )
                   Defendants.          )

      IT IS ORDERED that the government’s unopposed motion to continue, (filing
no. 39), is granted, and the government’s brief in response to defendant Michael
Koning’s Motion for Disclosure of Rule 6(e)(3) Materials, (filing no. 26), Motion for
Return and Destruction of Inadvertently Disclosed Documents Protected by the
Attorney Client Privilege, (filing no. 27), and Motion to Compel Disclosure of 404(b)
Evidence Concerning Dr. Koning, (filing no. 36), shall be filed on or before
September 4, 2009.

      DATED this 20th day of August, 2009.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       United States District Judge
